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Aram

co Americas Claim Chart for Infringement on US Patent 8,438,487 Screenshots
taken from https://americas.aramco.com/en; Captured 12/03 and 04/2019

 

Title: Method

and system for one-click navigation and browsing of electronic media and their category structure

as well as tracking the navigation and browsing thereof

 

Claim 1: A
system for
navigating
and
browsing
electronic
media,
comprising: a
device
enabling
viewing of
digitally
stored
information,
the device
being
configured to
display at
least portions
lofa
categorization
structure for
substantially
all ofa
website
having a
plurality of
nested
cascading
category
levels, each
category level
of the
plurality of
nested
cascading
category
levels
|comprising a
plurality of

Saudi Aramco homepage captured on 12/03/2019: https://americas.aramco.com/en.

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Aramco Amer

WHO WE ARE

 

In the top-band above the image, a search icon “ 8 “ with four top-level “Category Titles” are
lined up from left to the right with Aramco and its logo (a white sun with blue sky and green
earth colors surrounding the sun in a square shaped box) at the far right end. The five top level
category titles are: Who we are, Creating value, Making a difference, and Partnering with us.

Click “Who we are”, a dropdown menu of the nested/cascading subcategory titles appears:

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category titles
of electronic
media content
stored on at
least one
storage
device, each
category title
having a
selectable
link-token to
the stored
content for
said each
category title,
said each
category title
also being
coupled to a
nested
subcategory
structure of
said each
category title,
the nested
subcategory
structure of
said each
category title
comprising
link-tokens of
category titles
wherein said
each category
title and the
category titles
in the
different
plurality of
category
levels are
able to be
browsed
independently
of having to
select and

 

Only the top screen portion of the page is captured and shown, as in all of the pages discussed in this
and other claim-chart, unless otherwise stated.

The 1* level subcategory titles under “Who we are” are: “About>” and “Our governance>”. The next
level -2" level subcategory titles nested under each the two 1 level subcategory titles. These at least 3
layers of structured categorical titles are embedded with active links and the 2 levels of subcategories
are hidden behind and coded under the top-level category titles displayed in the top-band as described
above. This categorical structure is designed to be present and common to all or at least essential pages
on the site as taught in Patent 8,438,487. The structure and its presence in all or at least essential pages
of a website, which become visible in a pop-up or dropdown menu when a top-level category title is
clicked, becoming visible and available for viewer browsing, reviewing and make appropriate selection
from the menu. The dropdown menu of the at least the next two levels of subcategories nested under
each top-level category becomes visible for site-user review when called upon by one-click or placing
cursor on a top level category title. The “>” icon in “About>” (and “Our governance>”) indicates that
there is a page specifically for “About>” which can be reached by clicking on “About>”.

Under the “About>” 1* level subcategory are “Our people and culture”, “Our parent company and
affiliates” and “Our history.” Under the “Our governance>” are two 2™ level subcategories: “Ethics of
Governance” and “Global presence”.

Now click on the top-level category title “Creating value,” the dropdown menu for “Who we are”
disappears, and the menu for “Creating value” appears for user review and selection.

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The two 1“ level subcategories nested under “Creating value” are: “Services>” and “Technology
and innovation>”.

Nested under “Services>” are six 2"! level subcategories: “Industrial relations”, “Technical
services”, “Procurement and logistics”, “Upstream”, “Public affairs” and “Host companies”.

Nested under “Technologies and innoyation>” are four 2" level subcategories: “Partnering on
technology solutions”, “Technology breakthroughs”, “Investing in startups” and

“Collaborate with us”. As in previously described dropdown menus, all category and

 

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retrieve the
stored content
for any title
from the at
least one
storage
device,
wherein the
categorization
structure
enables a user
viewing
content of
any category
title in the
categorization
structure to
retrieve
content of
any other
category title
in the
categorization
structure
using a single
retrieval
command.

Claim 22. A
system for
tracking the
navigation
and

browsing of
electronic
media, and
facilitating
the changing
of navigation
and
browsing
path, the
system
comprising a
computer
configured to

 

subcategory titles are embedded with links, each linking to the page with information/content
related to the specific named category or subcategory title, enabling a user/viewer reaching the
page with one-click.

Now click the 3” top level category title “Making a difference”, the previously displaying menu
for “Creating value” disappears, and the dropdown menu for “Making a difference” appears:

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aramco &

  

 

WHO WE ARE

  

The two 1“ level subcategories nested under “Making a difference” are “Supporting the
environment>” and “Supporting our communities>”. The two 2" level subcategories nested
under “Supporting the environment>” are “Galveston Bay Foundation” and “Trees for Houston.”
The 2™ level subcategories nested under “Supporting our communities>” are: “Aramco Houston
Half Marathon”, “Aramco iExplore” and “Local initiatives.” All category and subcategory titles
are embedded with active links, each linking to the specific page containing information
/content/ for the named category or subcategory title, enabling a user/viewer to reach the page
with one-click. As an illustrative example, let us click “Aramco iExplore”:

 

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aramco :

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Making a difference 9 fatfuermg wahous

 

https://americas.aramco.com/en/making-a-difference/supporting-our-communities/aramco-

 

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display to a
user pages of
content
within an
inter-linked
content
structure
having a
textual table
format
comprising at
least three
category
levels, and to
enable the
user to
retrieve with
one single
retrieval
command any
desired
content page
within the
inter-linked
content
structure
from a
display of
every other
content page
of the inter-
linked
content
structure.

Claim 23. A
system for
navigating
and browsing
electronic
media,
comprising: a
device for
viewing of
digitally

 

iexplore is the URL of the page located in the 4" level of page hierarchy on the site, yet
reachable with one-click from a homepage, vs the prior-art needing at least 4-clicks.

Note the “Active One-Click Navigation Tracking String” as taught in Patent 8438487, which
displaying under the top-band and above the image of the page in a black-band:

Home > Making a difference > Supporting our communities > Aramco iExplore,

The last—right most page-title/sign-post is the present page location in the 4" level of the
structured page hierarchy for the site. The next-up “sign post” is “Supporting our community”
with an active link to the page which allows a user to conveniently click it to reach the page
quickly. The next-up page in the hierarchy is “Making a difference” which can be reached with
one-click from the top-band category title available in this 4"-level page. The left-most sign-post
“Home” enables a user/viewer to reach the Homepage 3 levels up with one-click, contrasting the
3 times clicks on the “Reverse Arrow” page-back icon required in the prior-art, each time
waiting for the corresponding page to load before making the next click.

https://americas.aramco.com/en

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aramco la :

Who we are Creating value Making a difference Partnering with us

Aramco Americas

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Note that the Homepage has now changed from what was previously shown at the site. It would
make sense to automate the change by using any combination of features taught in Plaintiffs’
family of seven patented inventions for “Automated Change of Displaying Content on a
Designated Display Area in a Webpage” to display a good number of multiple content-sets each
displaying for a reasonable length of time, with cycles of changes observable by a site visitor
during a reasonable time-length of site-visit by an average site visitor. This change occurred in a
half day or a one day time, contributing no significant dynamism to the page.

Now click the “Partnering with us” top level category title, the dropdown menu for
“Partnering with us” appears, overlapping the new homepage image/content-set displaying in
the top screen portion of the page (as it did the old homepage shown on the site yesterday):

https://americas.aramco.com/en

 

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i stored
information,
the device
being
configured to
display at
least portions
ofa
categorization
tree structure
having a
plurality of
cascading
category lists,
each list of
the plurality
of cascading
category lists
comprising a
plurality of
category titles
to electronic
media content
stored on at
least one
storage
device, each
category title
having a
selectable
link-token to
the stored
content file
for said each
category title,
wherein the
device is
configured to
display one or
more link-
tokens in the
stored content
file for said
each category
title in
response to

  
  

 

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Who we are Creating value

Making a difference

Partnering with us

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The same dropdown menu for “Partnering with us” captured yesterday overlappying yesterday’s
homepage is shown below:

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WHO WE ARE

There are two 1“ level subcategories under “Partnering with us”: “Current suppliers>” and
“Become a supplier>”

Nested under the first level subcategory “Current suppliers>” are three 2™ tevel subcategories
“Supplier services”, “Frequently asked questions” and “Supplier privacy notice”.

Nested under the 1* level subcategory “Become a supplier>” are two 2™ level subcategory
titles “Supplier registration” and “Supplier sourcing lists”

 

 

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placement of
a cursor on
the selectable
link-token of
said category
title without
clicking on or
invocation of
the selectable
link-token of
said category
title, whereby
the system
enables the
category titles
in the
different
plurality of
category lists
to be browsed
independently
of selecting
and retrieving
stored content
files for any
title from the
at least one
storage
device,
wherein the
categorization
tree structure
enables a user
viewing
content of
any category
title in the
categorization
structure to
retrieve
content of
any other
category title
in the
categorization
structure

https://americas.aramco.com/en/partnering-with-us/current-supplers:

The entire page for “Current suppliers” is captured and shown below.

The Active Navigation Tracking String as taught in this patent is shown in the top-screen:
Home / Partnering with us / Current suppliers

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aramco &

Partnering with us

 

Ste Ts) SIIB)
Current suppliers

 

We work with manufacturers in the Americas to source high-
quality materials for Saudi Aramco. We develop strong. tong-
term partnerships that further the reach of our parent company
as it continues to grow its global operations, business lines and
projects

Frequently asked
questions

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Supplier services

 

LEARN MORE

 

 

Become a supplier

 

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using a single
retrieval
command.

Claim 24. A
system with
one or more
processors
and memory
that enables
digitally
stored
information
to be viewed
on a display
device,
comprising: a
website
comprising a
plurality of
web pages; a
hierarchical
categorization
structure
including a
plurality of
levels of
nested
references for
substantially
all of the web
pages in the
website, a
displayed
categorization
structure that
is viewable in
conjunction
with the
content of
any web page
in the
categorization
structure and
that includes
at least a

 

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Quick Links Seana vail selt-) Other websites Social media

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TERMS AND CONDITIONS

 

Click the 2" level subcategory title “Investing in startups” in the dropdown menu under the

“Creating value” top level category title, the page below is displayed:

https://americas.aramco.com/en/creating-value/technology-and-innovation/investing-in-startups
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@ amerncaparamcs com

os Oe:

Creating value Malong ad fecotie Gorter wilt us

 

aramco Hall

Technology and innovation

Investing in startups

 

Home / Creating value / Technology and innovation / Investing in startups

shown above iss the Active Navigation Tracking String taught by Patent 8438487 for the page.

 

 

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subset of the | Click to the 2" level subcategory “Collaborate with us” in the right-column of the dropdown
categorization | menu uder “Creating value”, the page below is brought forth to the display screen:

structure
references,

such that a The Active One-Click Navigation Tracking String taught in 8438487 is shown at the top of
user is able to | the image is shown as:

retrieve Home / Creating value / Technology and innovation / Collaborate with us
content of € Cc Qo i amencas aramce com + Top art F wore pat oy : wots

any other web be pice been
page in the
categorization 3 | Viheowe are Creating value Manog a dilerence Parienny witha aramco
structure by
selecting
using a single
selection
gesture a
respective Technology and innovation

reference in , :
the displayed Collaborate with us
Os

https://americas.aramco.com/en/creating-value/technology-and-innovation/collaborate-with-us

y

a)

categorization
structure; and
a gateway
symbol
displayed on
at least some

 

We believe the most progressive organizations look everywhere
for ideas, capabilities, and strengths aligned with their own to
achieve transformative results. We employ the best and

of the brightest. but we aiso believe that collaboration with service
plurality of companies, academics. national labs and other stakeholders

web pages for delivers impactful results.
accessing the
displayed
categorization
structure.

 

 

 

 

8438487: Method and system for one-click navigation and browsing of electronic media and
their category structure as well as tracking the navigation and browsing thereof

Abstract

Method and apparatus facilitate browsing of web pages or other electronic content stored over
a network of remote and/or local storage devices. Browsing is performed without repeated
intermediary clicking and page downloads. Pre-browsing of the category structure is provided
via rolling the cursor from category to category, and level to level, to view each category's sub-
categories, without clicking on a category or downloading web-page(s) linked to the category.
When the user selects the content linked to a particular category, the user invokes the link-

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token corresponding to the content to retrieve the content. A dynamic tracking-string with an
embedded one-click nested/cascading category browsing apparatus facilitates returning and/or
changing path during browsing and examination of electronic media, and allows the user to
review more than one path along the category structure while the browser is at a page linked to
any category at any level.

1. A system for navigating and browsing electronic media, comprising: a device enabling
viewing of digitally stored information, the device being configured to display at least portions of a
categorization structure for substantially all of a website having a plurality of nested cascading
category levels, each category level of the plurality of nested cascading category levels comprising a
plurality of category titles of electronic media content stored on at least one storage device, each
category title having a selectable link-token to the stored content for said each category title, said
each category title also being coupled to a nested subcategory structure of said each category title, the
nested subcategory structure of said each category title comprising link-tokens of category titles
wherein said each category title and the category titles in the different plurality of category levels are
able to be browsed independently of having to select and retrieve the stored content for any title from
the at least one storage device, wherein the categorization structure enables a user viewing content of
any category title in the categorization structure to retrieve content of any other category title in the
categorization structure using a single retrieval command.

2. The system according to claim 1, wherein link-tokens of one or more category titles in a first
category level of the plurality of nested cascading category levels are displayed for viewing on a
display device in response to placing a cursor on a starting symbol representing a gateway to viewing
the categorization structure displayed on the display device, without clicking.

3. The system according to claim 2, wherein the link-tokens of one or more category titles in the first
category level are displayed on the display device underneath the starting symbol representing the
gateway to viewing the categorization structure.

4, The system according to claim 2, wherein placing the cursor on one link-token of the link-tokens
of the one or more category titles in the first category level causes the title corresponding to the one
link-token to be changed in appearance and causes a second category level having a second plurality
of titles to be displayed alongside the first category level, the plurality of titles in the second category
level being sub-categories of the category title changed in appearance in the first category level.

5. The system according to claim 4, wherein the titles in the second category level are displayed in a
second listing-area with the titles listed one under the other.

6. The system according to claim 4, wherein placing the cursor on one title of the category titles
displayed in the second category level causes said one title of the category titles displayed in the
second category level to be changed in appearance and causes a third category level having a third
plurality of category titles to be displayed alongside the second category level, the plurality of tides in
the third category level being sub-categories of the changed in appearance title displayed in the
second category level.

7. The system according to claim 2, wherein the titles in the first category level are displayed in a first
listing-area with the titles listed one under the other.

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8. The system according to claim 2, wherein the categorization structure resides with the pages of
media content but is not displayed on the display device with the media content until a browser places
the cursor on the starting symbol.

9. The system according to claim 2, wherein the media content are the pages of a web site.

10. The system according to claim 9, wherein a browser can navigate and browse the different
category titles in the different category levels of the categorization structure without having to down
load a web page from the storage device and without having to navigate back and forth between
different web pages.

11. The system according to claim 9, wherein the categorization structure resides with the web pages
but is not displayed on the display device with the web pages until a browser places the cursor on the
starting symbol.

12. The system according to claim 1, wherein the system has a selectable number of category levels.

13. The system according to claim 1, wherein the system has a selectable number of category titles in
each category level.

14. The system according to claim 1, wherein the system is implemented using software, and wherein
the single retrieval command is a single click.

15. The system according to claim 1, wherein when the cursor is moved from a category level having
a plurality of category titles which are sub-categories of a title in a higher category level, the category
level with the plurality of sub-category titles, and all subsequent category levels cease to be displayed
on the display device.

16. The system according to claim 1, wherein when the cursor is moved from a first category title in a
first category level to a second category title in the first category level, a first plurality of sub-

category titles of the first category title in a second, lower category level ceases to be displayed on the
display device, and a second plurality of sub-category titles of the second category title on which the
cursor now rests is displayed in a second category level on the display device.

17. The system according to claim |, wherein a browser can browse the categorization structure
independently of any media content displayed on the display device.

18. The system according to claim 1, wherein a browser can navigate and browse the different
category titles in the different category levels of the categorization structure without having to select
and retrieve a page of media content from the storage device and without having to navigate back and
forth between different pages of media content.

19. The system according to claim 1, wherein a browser can navigate back and forth between a
category title in a first category level and a category title in a second category level of the
categorization structure.

20. The system according to claim 1, wherein a browser can move from a first or any category title in
a particular level to any other title in the same level of the categorization structure.

21. A system of claim 1, wherein the interlinked content structure is hidden from view and a
subcategory structure is not displayed until a cursor rolls over a respective category title.
ee ee rere reer errr errr reece reece ecee cece cece eee rece
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22. A system for tracking the navigation and browsing of electronic media, and facilitating the
changing of navigation and browsing path, the system comprising a computer configured to display
to a user pages of content within an inter-linked content structure having a textual table format
comprising at least three category levels, and to enable the user to retrieve with one single retrieval
command any desired content page within the inter-linked content structure from a display of every
other content page of the inter-linked content structure.

23. A system for navigating and browsing electronic media, comprising: a device for viewing of
digitally stored information, the device being configured to display at least portions of a

categorization tree structure having a plurality of cascading category lists, each list of the plurality of
cascading category lists comprising a plurality of category titles to electronic media content stored on
at least one storage device, each category title having a selectable link-token to the stored content file
for said each category title, wherein the device is configured to display one or more link-tokens in the
stored content file for said each category title in response to placement of a cursor on the selectable
link-token of said category title without clicking on or invocation of the selectable link-token of said
category title, whereby the system enables the category titles in the different plurality of category lists
to be browsed independently of selecting and retrieving stored content files for any title from the at
least one storage device, wherein the categorization tree structure enables a user viewing content of
any category title in the categorization structure to retrieve content of any other category title in the
categorization structure using a single retrieval command.

24. A system with one or more processors and memory that enables digitally stored information to be
viewed on a display device, comprising: a website comprising a plurality of web pages; a hierarchical
categorization structure including a plurality of levels of nested references for substantially all of the
web pages in the website, a displayed categorization structure that is viewable in conjunction with the
content of any web page in the categorization structure and that includes at least a subset of the
categorization structure references, such that a user is able to retrieve content of any other web page
in the categorization structure by selecting using a single selection gesture a respective reference in
the displayed categorization structure; and a gateway symbol displayed on at least some of the
plurality of web pages for accessing the displayed categorization structure.

25. The system of claim 24, wherein the categorization structure is embedded in substantially all of
the web pages in the website.

26. The system of claim 24, wherein the categorization structure is linked to substantially all of the
web pages in the website.

https://europe.aramco.com/ and https://china.aramco.com/ sites and likely many other Saudi
Aramco subsidiaries also infringe on this patents.

Aramco Trading Company and Aramco Energy Ventures do not use this patented invention.
However they use a variety of features taught in the very powerful Auto-Scrolling and Auto-
Change family of seven patented inventions. When Saudi Aramco lawfully licenses this and
other patented inventions for the entire SA conglomerate, all subsidiaries can lawfully use these
breakthrough Internet patented inventions.

 

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